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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------------x
 In re:                                                           :
                                                                  : Chapter 11
                                                          1
 The Weinstein Company Holdings LLC, et al.,                      :
                                                                  : Case No. 18-10601 (MFW)
                                                                  :
                   Debtors.                                       : (Jointly Administered)
                                                                  :
                                                                  : Ref. Docket No. 3149
------------------------------------------------------------------x

                                           AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

PANAGIOTA MANATAKIS, being duly sworn, deposes and says:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
   777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
   not a party to the above-captioned action.

2. I caused to be served the “Notice of Motion and Hearing,” dated December 24, 2020, to
   which is attached the “Joint Motion of the Debtors and the Official Committee of Unsecured
   Creditors Pursuant to Fed. R. Bankr. P. 9019 for Approval of (I) Stipulation Between the
   Debtors, the Committee and Portfolio Funding Company LLC I and (II) Stipulation Between
   the Debtors, Portfolio Funding Company LLC I and Viacom International, Inc.,” also dated
   December 24, 2020 [Docket No. 3149], by causing true and correct copies:

    a. to be enclosed in separate postage pre-paid envelopes and delivered via first class mail on
       to those parties listed on the annexed Exhibit A, on December 28, 2020, and

    b. to be delivered via electronic mail to those parties listed on the annexed Exhibit B, on
       December 24, 2020.




1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The mailing
address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4 th Floor, New York, New York 10013. Due to the large
number of debtors in these cases, which are being jointly administered for procedural purposes only, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of this
information may be obtained on the website of the Debtors claims and noticing agent at http://dm.epiq11.com/twc.
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3. In addition, I hereby certify that the referenced document(s) were electronically filed with the
   United States Bankruptcy Court for the District of Delaware by using the CM/ECF system. I
   further certify that the parties of record in this case, all registered CM/ECF users located on
   the Court’s Electronic Mail Notice List, annexed hereto as Exhibit C, were served through
   the CM/ECF system.

                                                                    /s/ Panagiota Manatakis
                                                                    Panagiota Manatakis
 Sworn to before me this
 29th day of December, 2020
 /s/ Regina Amporfro
 Notary Public, State of New York
 No. 01AM6064508
 Qualified in Bronx County
 Commission Expires September 24, 2021
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                    Exhibit A
                                            THE WEINSTEIN COMPANY
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                                                   Service List
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Claim Name                              Address Information
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LLC
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Claim Name                              Address Information
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                               Total Creditor count 41




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                    Exhibit B
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     THE WEINSTEIN COMPANY HOLDINGS LLC, Case No. 18-10601
                       Master Service List



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     THE WEINSTEIN COMPANY HOLDINGS LLC, Case No. 18-10601
                       Master Service List



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     THE WEINSTEIN COMPANY HOLDINGS LLC, Case No. 18-10601
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                      Master Service List



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      THE WEINSTEIN COMPANY HOLDINGS LLC, Case No. 18-10601
                       Master Service List



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                     Exhibit C
Internal CM/ECF Live Database                                                                                                       Page 1 of 12
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Mailing Information for Case 18-10601-MFW
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this case.

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      6767@ecf.pacerpro.com;derek-abbott-1155@ecf.pacerpro.com
    • James W. Adelman mail@morrisadelman.com
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    • Paul H. Aloe paloe@kudmanlaw.com, yali@kudmanlaw.com;dsaponara@kudmanlaw.com
    • Paul S. Arrow parrow@buchalter.com
    • Jessica Lynn Bagdanov jbagdanov@bg.law, ecf@bg.law
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    • William Pierce Bowden wbowden@ashby-geddes.com, ahrycak@ashbygeddes.com
    • Charles G. Brackins CBrackins@hinshawlaw.com
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